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                                              No. 17-222C
                                          (Filed: June 5,2017)                    FILED
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 TREVINO. et al..                                                                U.S, COURT OF
                                                                                FEDERAL CLAIMS
                Pro   ,Se   Plaintiffs,



 THE UNITED STATES,

                       Defendant.




                                              ORDER
        On April 17, 20l Tdefendant filed a motion to dismiss plaintiffs' complaint
pursuant to Rules l2(bXl) and (6) of the United States Court of Federal Claims (Docket
No. 4). In accordance with court rules, the plaintiffs' response to defendant's motion was
due by May 18,2017 . On May 24,2017 the court issued an order (Docket No. 5)
directing plaintiffs to file their response to defendant's motion to dismiss by May 31,
2017. The order stated that failure to timely file a response would result in dismissal of
plaintiffs' complaint for failure to prosecute.

       A review of court records indicates that plaintiffs have not filed a response to
defendant's motion to dismiss as directed by the court's May 24,2017 order.
Accordingly, the above-caption case is DIMISSED pursuant to Rule 41(b) of the Rules
of the Court of Federal Claims for failure to Drosecute.

       IT IS SO ORDERED.




                                                                 NANCY B. FIRESTO
                                                                 Senior Judge




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        Case 1:17-cv-00222-NBF Document 6 Filed 06/05/17 Page 2 of 2
         Case 1:l-7-cv-00222-NBF Document 5 Filed 051241L7 Paoe 1 of 1


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                                                                             U.S. COURT OF
  TRIIVINO, ct al.,                                                          FEDEML CLAIMS

                 pro   Se   plaintills,



 THI] I.IN]TED STATI]S,

                        Defendant.




                                              ORDER
       on April 17,20rr defendant filed a motion to dismiss plaintiffs' complaint
pursuanr ro Rules 12(b)(1) and (6) ofthe united states
                                                          court ofFederal claims (Docket
No. 4), In accordance with court rules, the plaintiffs' rcsponse to
                                                                    defendant's motion was
duebyMay 18,2017. A review ofcourt records indicates that praintilfs have
                                                                                not
rcsponded to the motion to dismiss.

        Plaintiff's shalr have untir May 3l,2or7 to file their responsc to
                                                                           defcndant,s
moti'n t. dismiss. Should rhc plaintiffs fail to timely respond, the court will
                                                                                 dismiss the
plaintilR' complaint for failurc to prosccute.


       IT IS SO ORDERED.




                                                              Senior Judge
